  Case 3:20-cv-00832-E Document 172 Filed 12/07/20                 Page 1 of 6 PageID 3697



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  OSCAR SANCHEZ, MARCUS WHITE,
  TESMOND MCDONALD, MARCELO
  PEREZ, ROGER MORRISON, KEITH
  BAKER, PAUL WRIGHT, TERRY
  MCNICKELS, JOSE MUNOZ, KIARA
  YARBOROUGH, OLIVIA WASHINGTON,
  and IDEARE BAILEY, on their own and on
  behalf of a class of similarly situated persons, Civil Action No. 20-cv-832-E

                          Petitioners/Plaintiffs,
            v.

  DALLAS COUNTY SHERIFF MARIAN
  BROWN, in her official capacity; DALLAS
  COUNTY, TEXAS,

                   Respondents/Defendants


                 STIPULATED ORDER REGARDING INSPECTION TOUR


       IT IS HEREBY AGREED, by and between counsel for the respective parties, that

Plaintiffs’ counsel and the individuals identified as specified below in paragraph 1 shall be

permitted to conduct an inspection for the purposes of examining, photographing, videotaping, and

measuring certain areas of the Dallas County Jail, commonly known as the Lew Sterrett Justice

Center (the “Jail”) relative to and for the purposes of the claims in this case. The following terms

and conditions will apply to this inspection:

       1.        At least two days prior to the inspection, Plaintiffs’ counsel shall supply the

Defendants with the names and addresses of those individuals who will visit the facility to conduct

and participate in the inspection (“Associates”).




                                                    1
  Case 3:20-cv-00832-E Document 172 Filed 12/07/20                     Page 2 of 6 PageID 3698



        2.     Plaintiffs’ counsel and Associates may operate video and camera equipment as they

determine necessary for the purpose of videotaping and photographing the areas specified below

in paragraph 5. Plaintiffs’ counsel and Associates shall use one photographer and one

videographer. Defendants reserve the right to use their own photographer and videographer as

well.

        3.     At least one day prior to the inspection, Plaintiffs’ counsel and Associates will

provide to the Jail staff and/or the Sheriff or her designee (“Jail Representatives”) correct

identification (e.g., a copy of the front and back of the person’s state-issued driver’s license), and

again at the time of the inspection. The identification will be used solely for purposes of verifying

the person’s identity, and any documents reflecting or relating to the identification will be

discarded immediately after the person’s identification is verified.

        4.     Plaintiffs’ counsel and Associates will be escorted during the inspection tour by

such Jail Representatives as determined by the Sheriff or her designee. No photography or

videography shall be taken in the absence of a Jail Representative.

        5.     The Sheriff or her designee shall accompany Plaintiffs’ counsel and Associates and

shall have the right to adequately and sufficiently control access to and movement within the

facility by Plaintiffs’ counsel and Associates according to the following restrictions. The

videotapes, photographs, examination, and measurement of the facility shall include and be

restricted to the following areas: (i) any housing units, including but not limited to: (a) individual

cells, (b) dormitory-style housing, (c) medical housing, (d) solitary and isolation units,

(e) quarantine units, and (f) shared dayrooms; (ii) any space used by detainees, including but not

limited to those spaces used for: (a) exercise, (b) dining, (c) personal hygiene (including bathrooms

and showers), (d) receiving medical care or medical evaluation (including mental health care)




                                                  2
  Case 3:20-cv-00832-E Document 172 Filed 12/07/20                    Page 3 of 6 PageID 3699



(except that individuals receiving care or medical evaluation shall not be filmed or photographed),

(e) working (including but not limited to kitchens and laundry facilities), (f) visiting (with legal

counsel or friends/family), (g) communicating (including areas for making phone and video calls),

(h) attending court (in person and remotely), (iii) processing or waiting for transport (including

vehicles) to areas in or outside of the Jail; and (iv) any hallways or paths of travel within the Jail.

       6.      The Sheriff or her designee shall have the right to inspect any photographic or video

images (the “Images”) produced during the inspection and may direct that all or portions of the

Images be deleted or digitally obscured where the Images display matters that create a security

concern as determined by the Sheriff or her designee. Further, pictures of individual persons,

including Jail Representatives or any inmate, shall be blurred or otherwise obscured from any

Image to the extent necessary to protect the individual persons’ identities, except to the extent that

photographs and videos may include Plaintiffs’ counsel and Associates as a frame of reference

where necessary. Notwithstanding any foregoing provision, inmates shall in no case be filmed or

photographed in a state of undress. It is understood that any such editing must take place on editing

equipment of the videographer or photographer and cannot take place at the time of the inspection.

In the event there is a dispute between the parties as to whether any image displays matters which

create a security issue, the matter may be presented to the Court for determination, and images

subject to a dispute shall be reviewed by the Court in camera or under other conditions to prevent

unnecessary disclosure.

       7.      During the inspection, Jail Representatives may use the Jail’s equipment to make

Images identical to those that are requested by Plaintiffs’ counsel and Associates.

       8.      Within thirty days of the completion of the inspection, Plaintiff shall produce a set

of the Images to the Defendants.




                                                   3
  Case 3:20-cv-00832-E Document 172 Filed 12/07/20                   Page 4 of 6 PageID 3700



       9.      The Images shall be subject to the Protective Order in this case as “Confidential

Information” under that Order. Except as otherwise indicated herein or in the Protective Order,

the Images shall not be copied or disclosed in any manner, in whole or in part, by Plaintiffs’

counsel, Associates, or anyone acting at the direction of Plaintiffs’ counsel or Associates, to any

other person except to the extent necessary for the conduct of the above-styled litigation, Sanchez

et al v. Brown et al., No. 20-cv-832-E. Plaintiffs’ counsel shall inform any persons to whom the

videotapes or photographs are shown, including Associates, that they shall not disclose the

contents viewed, seen, or discussed to any third party and that any violation may result in sanctions

being imposed upon such persons by the Court under the Protective Order.

       10.     Except as otherwise indicated herein, no additional copies or digital files of the

Images or negatives of the Images shall be made by Plaintiffs’ counsel or anyone else except as

necessary for the conduct of this litigation.

       11.     Jail Representatives shall have the right to inspect all videotapes, cameras, film,

photographic, and other equipment, machinery, cases, and bags brought into the Jail prior to

granting entry to Plaintiffs’ counsel and Associates. Such inspection prior to entry may include

examining the contents of any videotapes or photographs brought into the facility but shall not

include any copying and shall not extend to personal equipment (e.g., smartphones) belonging to

Plaintiffs’ counsel.

       12.     Within sixty (60) calendar days after final judgment in this action, including the

exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

agreement, each party or other person subject to the terms of this Stipulated Order is under an

obligation to destroy all Images, and to certify to the other party that this destruction or return has

been done.




                                                  4
  Case 3:20-cv-00832-E Document 172 Filed 12/07/20               Page 5 of 6 PageID 3701



       13.    In the event that Plaintiffs’ counsel seeks to use any Images in any judicial

proceeding in the above-captioned matter, counsel shall provide at least seven (7) days notice to

counsel for the Dallas County Sheriff and Dallas County. Any party may move that the Images

be received as evidence in camera or under other conditions to prevent unnecessary disclosure.

The Court will then determine what protection is appropriate for use of the Images in any

proceeding.

DATED: December 2, 2020

Respectfully Submitted,


 /s/ Henderson Hill           /s/ Brian Klosterboer             /s/ Barry Barnett
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                                               5
 Case 3:20-cv-00832-E Document 172 Filed 12/07/20    Page 6 of 6 PageID 3702



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COUNSEL FOR DALLAS COUNTY, TEXAS,
AND SHERIFF MARIAN BROWN

SO ORDERED,

Signed December 7, 2020.

                                         _____________________________________
                                         ADA BROWN
                                         UNITED STATES DISTRICT JUDGE




                                     6
